Case 1:20-cv-00769-MJM Document 41 Filed 10/05/22 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Travis Bair
Plaintiff,

*

 

V. Case No. 1:20-CV-00769-MJM

 

United States of America

 

Defendant. =

GENERAL CONSENT TO PROCEED
BEFORE A UNITED STATES MAGISTRATE JUDGE
In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned party to the
above-captioned civil matter hereby voluntarily waives the right to proceed before a United
States District Judge and consents to have a United States Magistrate Judge conduct any and all

further proceedings in the case, including trial, and order the entry of a final judgment.

10/04/22 ffpenan, PAta

Date Wignature of Party or Counsel

S. Ramani Pillai

 

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MagistrateGeneralConsentCV (06/2016)
